Case 1:16-cv-03418-TWP-DML Document 56 Filed 02/21/18 Page 1 of 3 PageID #: 903



                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

 AARON FARRER,                                 )
                                               )
                            Plaintiff,         )
                                               )
                       v.                      )     No. 1:16-cv-03418-TWP-DML
                                               )
 INDIANA UNIVERSITY, et al.                    )
                                               )
                            Defendants.        )


        Order Setting Settlement Conference and Related Deadlines

       This case is set for a settlement conference on May 10, 2018, at 9:30 a.m.

 (Eastern), in Room 277, United States Courthouse, 46 East Ohio Street,

 Indianapolis, Indiana, before Magistrate Judge Debra McVicker Lynch.

       Unless excused by order of the court, clients or client

 representatives with complete authority to negotiate and communicate a

 settlement shall attend the settlement conference along with their counsel.

 This requires the presence of each party, or the authorized representative of each

 corporate, governmental, or other organizational entity. Any insurance company

 that is a party, or is contractually required to defend or indemnify any party, in

 whole or in part, must have a fully authorized settlement representative present at

 the conference. That representative must have final settlement authority to commit

 the company to pay, in the representative’s own discretion, the amount within the

 policy limits, or up to the plaintiff’s last demand, whichever is lower. The purpose

 of this requirement is to have in attendance a representative who has the authority
Case 1:16-cv-03418-TWP-DML Document 56 Filed 02/21/18 Page 2 of 3 PageID #: 904



 to exercise discretion to settle the case during the settlement conference without

 consulting someone else who is not present.

       No other persons are permitted to attend the settlement conference

 without leave of court.

       On or before three (3) business days before the conference, the

 parties shall submit (not file) a confidential settlement statement setting

 forth a brief statement of: (1) relevant facts, including any key facts that the party

 believes are admitted or in dispute; (2) damages, including any applicable back pay,

 mitigation, compensatory and/or punitive damages, or any other special damages;

 (3) the existence of any applicable liens; and (4) any pending or anticipated

 dispositive or other substantive motions and citation to controlling precedent in

 support of their respective legal positions. The confidential settlement statement

 should not exceed five pages, and submission of exhibits should be kept to a

 minimum. Confidential settlement statements should be submitted by email to

 JudgeLynchChambers@insd.uscourts.gov.

       No later than six weeks before the settlement conference, Plaintiff(s)

 shall serve a settlement demand on Defendant(s), who shall serve a

 response no later than three weeks before the settlement conference. The

 parties shall submit (not file) courtesy copies of their respective demand

 and response at the time of service. These should be emailed to the magistrate

 judge at JudgeLynchChambers@insd.uscourts.gov. There is no need to follow an

 email with a hard copy.



                                            2
Case 1:16-cv-03418-TWP-DML Document 56 Filed 02/21/18 Page 3 of 3 PageID #: 905



       The court expects counsel will do what needs to be done in order to be ready

 for the settlement conference. The court will not look favorably on a motion to

 continue the settlement conference.

       Failure to comply with any of the provisions in this order may result in

 sanctions.

       So ORDERED.


   Date: 2/21/2018
                                    ____________________________________
                                       Debra McVicker Lynch
                                       United States Magistrate Judge
                                       Southern District of Indiana




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